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           Appellate Division of the Supreme Court
                     of the State of New York
                    Third Judicial Department


     I, Robert D. Mayberger, Clerk of the Appellate Division of
the Supreme Court of the State of New York, Third Judicial
Department, do hereby certify that

                     Stephen Charles Lagos
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on June 26, 2019,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Administration
Office of the Courts, and according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                             In Witness Whereof, I have hereunto set
                             my hand in the City of Albany on
                             October 27, 2021.




                                   Clerk of the Court


CertID-00037825
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                                 State of New York
                         Supreme Court, Appellate Division
                            Third Judicial Department
                                 Admissions Office
                           P.O. Box 7350, Capitol Station
                              Albany, NY 12224-0350

                                        (518) 471-4778
Robert D. Mayberger                                                            Timothy P. O'Keefe
                                      fax (518) 471-4749
 Clerk of the Court                                                        Acting Director of Attorney
                            http://www.nycourts.gov/ad3/admissions
                                                                                   Admissions




     To Whom It May Concern


            An attorney admitted to practice by this Court may request a certificate of good
     standing, which is the only official document this Court issues certifying to an
     attorney's admission and good standing.


            An attorney's registration status, date of admission and disciplinary history may
     be viewed through the attorney search feature on the website of the Unified Court
     System.


            New York State does not register attorneys as active or inactive.


           An attorney may request a disciplinary history letter from the Attorney
     Grievance Committee of the Third Judicial Department.


          Bar examination history is available from the New York State Board of Law
     Examiners.


            Instructions, forms and links are available on this Court's website.




                                                      Robert D. Mayberger
                                                      Clerk of the Court



     Revised October 2020
